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                                                                FILED: August 28, 2019


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                         ___________________

                                               No. 17-2444
                                          (1:17-cv-01793-MJG)
                                         ___________________

        ASHLEY AMARIS OVERBEY; BALTIMORE BREW

                       Plaintiffs - Appellants

        v.

        THE MAYOR AND CITY COUNCIL OF BALTIMORE; BALTIMORE CITY
        POLICE DEPARTMENT

                       Defendants - Appellees

        ------------------------------

        AMERICAN SOCIETY OF NEWS EDITORS; ASSOCIATED PRESS MEDIA
        EDITORS; ASSOCIATION OF ALTERNATIVE NEWSMEDIA; BUZZFEED;
        GANNETT COMPANY, INCORPORATED; HOWARD UNIVERSITY
        SCHOOL OF LAW CIVIL RIGHTS CLINIC; INTERNATIONAL
        DOCUMENTARY ASSOCIATION; INVESTIGATIVE REPORTING
        PROGRAM AT UC BERKELEY; INVESTIGATIVE REPORTING
        WORKSHOP AT AMERICAN UNIVERSITY; TAWANDA JONES; MPA-
        THE ASSOCIATION OF MAGAZINE MEDIA; MARYLAND D.C.
        DELAWARE BROADCASTERS ASSOCIATION; MARYLAND-
        DELAWARE-DISTRICT OF COLUMBIA PRESS ASSOCIATION;
        NATIONAL PRESS PHOTOGRAPHERS ASSOCIATION; NATIONAL
        WOMEN'S LAW CENTER; ONLINE NEWS ASSOCIATION; PUBLIC
        JUSTICE; PUBLIC JUSTICE CENTER; REPORTERS COMMITTEE FOR
USCA4 Appeal: 17-2444    Doc: 83      Filed: 08/28/2019 Pg: 2 of 2
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        FREEDOM OF THE PRESS; SOCIETY OF PROFESSIONAL JOURNALISTS;
        THE BALTIMORE SUN; THE CENTER FOR INVESTIGATIVE REPORTING;
        THE E. W. SCRIPPS COMPANY; THE WASHINGTON POST; TULLY
        CENTER FOR FREE SPEECH; WASHINGTON LAWYERS' COMMITTEE
        FOR CIVIL RIGHTS AND URBAN AFFAIRS

                     Amici Supporting Appellant

                                     ___________________

                                          ORDER
                                     ___________________

              The Court denies the petition for rehearing and rehearing en banc. No judge

        requested a poll under Fed. R. App. P. 35.

              Judge Floyd and Judge Thacker voted to deny the petition, and Judge

        Quattlebaum voted to grant the petition.

                                              For the Court

                                              /s/ Patricia S. Connor, Clerk
